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                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF PENNSYLVANIA

 IN RE: PHILIPS RECALLED CPAP,                 )
 BI-LEVEL PAP, AND                             )        Master Docket: Misc. No. 21-1230
 MECHANICAL VENTILATOR                         )
 PRODUCTS LITIGATION,                          )        MDL No. 3014
                                               )
 This Document Relates to:                     )
                                               )
 The Amended Master Long Form                  )
 Complaint for Personal Injuries and           )
 Damages (ECF No. 834) and                     )
 Consolidated Second Amended Class             )
 Action Complaint for Medical                  )
 Monitoring (ECF 815)                          )


                       JOINT NOTICE OF FILING OF TABLES OF
                        CAUSES OF ACTION AND DEFENDANTS

       At the October 17, 2023 status conference, the “Court requested a listing of all claims

relating to each defendant from the master complaints.” ECF No. 2300. Pursuant to the Court’s

request, the parties have prepared Tables of Causes of Action and Defendants for the Amended

Master Long Form Complaint for Personal Injuries and Damages (ECF No. 834) and the

Consolidated Second Amended Class Action Complaint for Medical Monitoring and Demand for

Jury Trial (ECF No. 815), which are attached hereto as Exhibits “A” and “B,” respectively.

Dated: October 27, 2023                            Respectfully submitted,

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                                  CERTIFICATE OF SERVICE

          I hereby certify that a true and correct copy of the foregoing document was filed via the

Court’s CM/ECF system on October 27, 2023, and is available for download by all counsel of

record.

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